       Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 1 of 15 PageID #:8270


    FIL ED                 LM
      0/2023
      2/2
             . BRUTO    N
   THOMA.SDG
           IS T R IC T COURT
CLERK, U.S
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 2 of 15 PageID #:8271
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 3 of 15 PageID #:8272
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 4 of 15 PageID #:8273
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 5 of 15 PageID #:8274
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 6 of 15 PageID #:8275
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 7 of 15 PageID #:8276
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 8 of 15 PageID #:8277
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 9 of 15 PageID #:8278
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 10 of 15 PageID #:8279
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 11 of 15 PageID #:8280
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 12 of 15 PageID #:8281
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 13 of 15 PageID #:8282
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 14 of 15 PageID #:8283
Case: 1:19-cr-00226 Document #: 909 Filed: 02/20/23 Page 15 of 15 PageID #:8284
